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a U.S. Department of Justice

United States Attorney

District of Maryland
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November 30, 2023

OD
BY EMAIL

Teresa Whalen, Esq.

801 Wayne Avenue, Suite 400
Silver Spring, Maryland 20910
Email: whalenesq@aol.com

Re: United States v. Wayne Prince, Criminal No. JKB-22-439

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement that has been
offered to your client, Wayne Prince (hereinafter the “Defendant”), by the United States Attorney’s
Office for the District of Maryland. If the Defendant accepts this offer, please have the Defendant
execute it in the spaces provided below. If this offer has not been accepted by close of business
on December 12, 2023, it will be deemed withdrawn. The terms of the Agreement are as follows:

Offenses of Conviction

1. The Defendant agrees to plead guilty to Count One of the Indictment, which
charges the Defendant with racketeering conspiracy, in violation of 18 U.S.C. § 1962(d). The
Defendant admits that he is, in fact, guilty of this offense and will so advise the Court.

Elements of the Offenses

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows.

Count One: Racketeering Conspiracy, 18 U.S.C. § 1962(d)

That from in or about 2014 continuing until on or about the date of the Indictment, in the
District of Maryland,

a. an enterprise existed as alleged in the Indictment;
b. the enterprise affected interstate or foreign commerce;

c. the Defendant was associated with or employed by the enterprise;

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d. the Defendant knowingly and willfully conspired with one or more persons to
conduct and participate in the affairs of the enterprise through a pattern of
racketeering activity; and

e. in this case, the affairs of the enterprise, and the pattern of racketeering activity in
which it engaged, included a conspiracy to feloniously, willfully with deliberately
premeditated malice kill and murder R. Br., in violation of Maryland Code,
Criminal Law § 2-201(a)(1) and the common law of Maryland, and punishable
pursuant to Maryland Code, Criminal Law § 1-202.

Penalties

x The maximum penalties provided by statute for each offense to which the
Defendant is pleading guilty are as follows:

Min. Max. Supervised Max. Special
Count Statute Prison | Prison Release Fine Assessment
One 18 U.S.C. N/A Life Max: 5 years | $250,000 $100
§ 1962(d)
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

é. Forfeiture. The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

£. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (i) the full amount of the fine or restitution is
nonetheless due and owing immediately; (ii) the schedule of payments is merely a minimum

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schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (iii) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4. The Defendant understands that, by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pleaded not guilty and persisted in that plea, the
Defendant would have had the right to a speedy jury trial with the close assistance of competent
counsel. That trial could be conducted by a judge, without a jury, if the Defendant, this Office,
and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Cc. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e, If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed that would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

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£ By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” provisions
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced case, and the Court will find the Defendant

guilty.

h. By pleading guilty, the Defendant also will be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that, if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

S. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range’’) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991-98. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

hs This Office and the Defendant agree to the following applicable sentencing
guidelines factors:

a. The parties agree and stipulate that pursuant to U.S.S.G. § 2E1.1(a)(2), the
offense level for racketeering conspiracy is the greater of offense level 19 or the offense level
applicable to the underlying racketeering activity. Pursuant to U.S.S.G. § 1B1.3, the underlying

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racketeering activities in this case involve acts, committed, aided, abetted, counseled, commanded,
induced, or willfully caused by the Defendant, as well as all those acts reasonably foreseeable to
him in furtherance of the jointly undertaken criminal enterprise, and include, among others:
Murder, chargeable under Md. Code Ann. Crim. Law §§ 2-201 and 2-204 (Maryland Murder) and
2-206 (Maryland Attempted Murder), and the Common Law of Maryland, and punishable pursuant
to Md. Code Ann., Crim. Law §§ 1-201, 2-204, 2-205, and 2-206.

b. With respect to the murder of Bryan McKemy on August 7, 2018, the base
offense level is 43 pursuant to U.S.S.G. § 2A1.1(a).

€. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. §3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. §3E1.1(b) for an additional 1-
level decrease, in recognition of the Defendant’s timely notification of the Defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. §3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. §3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offenses; (iii) gives conflicting statements about the Defendant’s involvement
in the offenses; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

8. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

Joint Recommendation Regarding Sentence

9, The parties agree and stipulate that a sentence in the range of 240 to 348 months
imprisonment is an appropriate disposition of this case.

Obligations of the Parties

10. At the time of sentencing, this Office will recommend a sentence of not more than
348 months in the custody of the Bureau of Prisons. The Defendant will recommend a sentence
of not less than 240 months in the custody of the Bureau of Prisons. This Office reserves the right
to bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office deems relevant to sentencing, including the conduct that is
the subject of any counts of the Indictment. At the time of sentencing, this Office will move to
dismiss any open counts against the Defendant.

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Forfeiture

11. The Defendant understands and agrees that, as a result of his guilty plea, he will not
be permitted to own, possess, or use a firearm or ammunition.

12. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offense.

13. The Defendant agrees to consent to the entry of such an Order of Forfeiture and
waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding forfeiture during the
plea hearing, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in
the judgment.

14. The Defendant agrees to assist fully in the forfeiture of any such property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

15. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

16. | Between now and the date of sentencing, the Defendant will not engage in conduct
that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal, state,
or local law; will acknowledge guilt to the probation officer and the Court; will be truthful in any
statement to the Court, this Office, law enforcement agents, and probation officers; will cooperate
in the preparation of the presentence report; and will not move to withdraw from the plea of guilty
or from this Agreement.

17. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (a) this Office will be free from its obligations under this Agreement; (b) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
and (c) in any criminal or civil proceeding, this Office will be free to use against the Defendant all
statements made by the Defendant and any of the information or materials provided by the

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Defendant, including statements, information, and materials provided pursuant to this Agreement,
and statements made during proceedings before the Court pursuant to Rule 11. A determination
that this Office is released from its obligations under this Agreement will not permit the Defendant
to withdraw the guilty plea. The Defendant acknowledges that the Defendant may not withdraw
the Defendant’s guilty plea—even if made pursuant to Rule 11(c)(1)(C)}—if the Court finds that
the Defendant breached the Agreement. In that event, neither the Court nor the Government will
be bound by the sentencing range agreed and stipulated to herein.

Waiver of Appeal

18. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute, to the extent such challenges
legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term or condition of supervised release, or order of forfeiture) for any reason
(including the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
or term or condition of supervised release).

19. | The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned case and agrees not to file any
request for documents from this Office or any investigating agency.

Court Not a Party

20. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. Neither the prosecutor, defense
counsel, nor the Court can make a binding prediction, promise, or representation as to what
guidelines range or sentence the Defendant will receive. The Defendant agrees that no one has
made such a binding prediction or promise.

Entire Agreement

21. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior

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understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties, and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please sign
and have the Defendant sign the original and return it to me promptly.

Sincerely,

Erek L. Barron

“CRY Attorney

Peter J.\Marfinez

Ari D. s

Patricia C. McLane

Assistant United States Attorneys

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every part
of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have reviewed
the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to change any
part of it. Iam completely satisfied with the representation of my attorney.

VL /19/2%

Date /

WaynePrince

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement, with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

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Date Teresa Whalen, Esq.

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ATTACHMENT A
STATEMENT OF FACTS

The undersigned parties stipulate and agree that, if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

The Black Guerilla Family, also known as “Jamaa” or “J,” is a nationwide gang operating
in prisons and on the streets of various cities throughout the United States. Founded in California
in the 1960s, BGF first appeared in the Maryland correctional system in the 1990s. Although
nominally still a prison gang, BGF has long been involved in criminal activity, including murder,
murder for hire, robbery, drug trafficking, obstruction of justice and witness tampering throughout
communities in Baltimore City.

The Defendant, Wayne Prince, was a member of BGF +hreaeg eperivd c
conspiracy. ia-thts-ease: The Defendant agreed to conduct and nantionier: in BGP” S “affairs ts through
a pattern of racketeering activity that included conspiracy to distribute controlled substances,
possession with intent to distribute controlled substances, robbery, and murder.

The Defendant agrees that the “Overt Acts” in which he is named in the Indictment
represent an accurate sample of his activities in furtherance of the racketeering enterprise.

The Defendant admits that on or about August 7, 2018, in the 4500 block of Woodlea
Avenue, he and two co-conspirators, including Co-Conspirator 1, attempted to murder Ryan
Brunson. The attack took place at a home that Brunson owned and was having renovated. A
construction crew was on site at the time. During the attack, the Defendant and an unindicted co-
conspirator murdered one of the construction workers, Bryan McKemy, using a .40 caliber
handgun. They also shot a second construction worker, Raymond Price, in the head. Price
survived the attack.

The Defendant admits that later on August 7, 2018, he participated in a recorded jail call,
in which he bragged to an associate, “I’m about to get some money soon,” referring to an expected
payment from Co-Conspirator 2 for his role in the attempted murder of Brunson. Over the
following three days — between August 7, 2018 and August 9, 2018 — the Defendant exchanged
messages with a now-deceased member of Co-Conspirator 2’s inner circle, in which the Defendant
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made arrangements to collect payment from Co-Conspirator 2 for his role in the attack at
Brunson’s home.

SO STIPULATED:

Peter-J\ Martinez

Ari D. Evans

Patricia C. McLane

Assistant United States Attorneys

LB

Defendant

fo de

Teresa Whalen, Esq.
Counsel for Defendant

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